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                    IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,           )
                                    )              CASE NO. CR18-258-S-BLW
            Plaintiff,              )
                                    )
vs.                                 )
                                    )
PAVEL BABICHENKO,                   )
GENNADY BABITCHENKO,                )
PIOTR BABICHENKO,                   )
TIMOFEY BABICHENKO,                 )
KRISTINA BABICHENKO,                )              Defendant Piotr Babichenko’s
NATALYA BABICHENKO,                 )              Motion In Limine for a
DAVID BIBIKOV,                      )              Bill of Particulars re:
ANNA IYERUSALIMETS,                 )              Theory of Case
MIKHAIL IYERUSALIMETS,              )
ARTUR PUPKO,                        )
                                    )
            Defendants.             )
___________________________________ )

Defendant Piotr Babichenko’s Motion In Limine
For a Bill of Particulars re: Theory of Case - 1
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         Defendants1 respectfully move this Court for a Bill of Particulars that

clarifies the Government’s theory about whether alleged safety issues or harm to

consumers from electronic devices sold by the Defendants are a factor when

determining if a device is counterfeit. The Defendants’ filed a related motion,

Defendant Mikhail Iyerusalimets’ Motion to Exclude Witnesses and Evidence

Relating to Safety Issues and Alleged Harm to Consumers, on April 6, 2021. Dkt.

799. Defendants incorporate the arguments in that motion by this reference. This

motion builds on those arguments by requesting that the Court either grant that

motion and exclude all evidence of alleged safety issues or harm to consumers or

order the Government to clarify its theory about how safety issues and harm to

consumers (viz. product quality) is relevant to whether a device is counterfeit.

    I.      Legal Standard

         An indictment “must be a plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). Federal

Rule of Criminal Procedure 7(f) authorizes the Court to direct the Government to

file a bill of particulars upon motion made by a defendant. It provides:

         The court may direct the government to file a bill of particulars. The
         defendant may move for a bill of particulars before or within 14 days
         after arraignment or at a later time if the court permits. The
         government may amend a bill of particulars subject to such conditions
         as justice requires.




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       This motion is filed on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr
Babichenko, Timofey Babichenko, Kristina Babichenko, Natalya Babichenko, David Bibikov,
Anna Iyerusalimets, and Mikhail Iyerusalimets (collectively the “Defendants”).
Defendant Piotr Babichenko’s Motion In Limine
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Fed. R. Crim. P. 7(f).

        A bill of particulars is a document from which the defendant can obtain some

precision about the prosecution theory besides that information reflected on the face

of the indictment or through transcripts and discovery.             It is “intended to

supplement the indictment by providing more detail of the facts upon which the

charge [is] based.” United State v. Inryco, Inc., 642 F.2d 290, 292 (9th Cir. 1981). A

bill of particulars seeks to eliminate uncertainties as to the theory of the

government’s case. United States v. Long, 706 F.2d 1044, 1054 (9th Cir. 1987);

United State v. Giese, 597 F.2d 1170, 1181 (9th Cir. 1979); Cook v. United States,

354 F.2d 529, 531 (9th Cir. 1965); Yeargain v. United States, 314 F.2d 881, 882 (9th

Cir. 1963) (“A defendant is not entitled to know all the evidence the government

intends to produce, but only the theory of the government’s case”).

       More specifically, the purpose of a bill of particulars is to aid the defendant in

preparing for trial, to eliminate surprise at trial, and to protect against a second

prosecution based on the same facts. United States v. Burt, 765 F.2d 1364, 1367 (9th

Cir. 1985), citing Long, 706 F.2d at 1054; United State v. Ayers, 924 F.2d 1468, 1483

(9th Cir. 1991).

       The Sixth Amendment guarantees:

       The right to offer testimony of witnesses, and to compel attendance
       their attendance, if necessary, is in plain terms the right to present a
       defense, the right to present the defendant’s version of the facts as well
       as the prosecution’s to the jury, so it may decide where the truth lies.
       Just as an accused has the right to confront the prosecution’s witnesses
       for the purpose of challenging their testimony, he has the right to
       present his own witnesses to establish a defense. This right is a
Defendant Piotr Babichenko’s Motion In Limine
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          fundamental element of due process of law.

Washington v. Texas, 388 U.S. 14, 19 (1967). In order to effectuate these rights, the

Defendants must adequately understand the Government’s allegations.

          Federal Rule of Criminal Procedure 7(f) gives a court broad discretion to

direct the government to file a bill of particulars. Will v. United States, 389 U.S. 90,

99 (1967); Long, 706 F.2d at 1054, citing Giese, 597 F.2d at 1180. In view of the

Advisory Committee’s Note to the amended Rule 7(f), courts should exercise their

discretion by taking a liberal attitude towards the granting of bills of particulars.2

    II.      Argument

          The Government has taken two seemingly conflicting positions throughout

this case. First, the Government intends to call witnesses, including expert

witnesses and consumers, to testify about alleged safety issues or harm caused by

electronic devices sold by the Defendants. That testimony is relevant only if a phone

that functions improperly is necessarily counterfeit. Second, the Government has

also taken the position that a product’s quality or functioning is irrelevant to

whether a device is counterfeit and that a phone is counterfeit if, for example, the

logo is the incorrect shape. The Government cannot have it both ways.

          The Government’s conflicting positions hamper Defendants’ ability to


2
  As originally promulgated, Rule 7(f) of Federal Rules of Criminal Procedure required a
showing of good cause before a bill would lie. That requirement was stricken by the amendment
of 1966, which was expressly designed “to encourage a more liberal attitude by the courts
towards bills of particulars.” See Rule 7(f), Advisory Committee Note to the 1966 Amendment.
This amendment requires that the defendant be given the benefit of the doubt in gray areas.

Defendant Piotr Babichenko’s Motion In Limine
For a Bill of Particulars re: Theory of Case - 4
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adequately prepare for trial, including preparing to examine the Government’s

witnesses and determining which witnesses or evidence to present. Defendants

anticipated that the Government would clarify its theory as trial approached. That

has not occurred, and Defendants thus now ask the Court to order a bill of

particulars.

       A bill of particulars would allow the Defendants to prepare responses to vital

questions left open by the Government’s vague allegations. Such questions include:

Is a bad logo necessary for a counterfeit phone? Is it sufficient? Is it irrelevant? Is

bad functioning necessary to a counterfeit phone? Is it sufficient? Is it irrelevant?

       Defendants are working toward a more streamlined and efficient trial by

attempting to eliminate “mini-trials” or lengthy in-trial debates over evidentiary

conflicts. The Court’s order requiring the Government to produce a bill of

particulars outlining the theory of the case, for the reasons set forth above, would go

a long way toward achieving that goal.

   V. Conclusion

       Defendants respectfully ask this Court to either grant the motion in Dkt. 799,

or order the Government to file a bill of particulars that clarifies its theory about

why the devices are counterfeit.

       RESPECTFULLY SUBMITTED this 8th day of April, 2021.

                                                   /s/ Paul E. Riggins
                                                   PAUL E. RIGGINS

                                                   /s/ Andrew S. Masser
                                                   ANDREW S. MASSER
Defendant Piotr Babichenko’s Motion In Limine
For a Bill of Particulars re: Theory of Case - 5
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8th day of April, 2021, I filed the foregoing
document utilizing the Court’s electronic CM/ECF system, which caused a Notice of
Electronic Filing to be served on the following:

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                                                   /s/ Paul E. Riggins
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Defendant Piotr Babichenko’s Motion In Limine
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